UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

                                                        Chapter 11
  In re:
  FTX Trading LTD., et al.,                             No. 22-11068 (JTD)

                            Debtors                     (Jointly Administered)



                TRANSFER OF CLAIM OTHER THAN FOR SECURITY
       A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2) of the Federal Rules of
Bankruptcy Procedure of the transfer, other than for security, of the claim referenced in this
evidence and notice.




 Name of Transferor:                                      Name of Transferee:

 Name(Redacted)                                           Azure Distressed Opportunities
                                                          Corporation

 Name and Current Address of Transferor:                  Name and Address where notices and
                                                          payments to transferee should be sent:
 Name (Redacted)                                          Azure Distressed Opportunities
                                                          Corporation
                                                          Attn: Ngeow Wu Tien
                                                          4th Floor, Harbour Place 103 South Church
                                                          Street, Grand Cayman, Ky1-1002
                                                          Cayman Islands
                                                          Email: claims@aztide.com

         Schedule/Claim No.                   Creditor Name        Amount          Debtor         Case No.
   Unique Customer Code: 02630154                 Name            as stated on   FTX Trading      22-11068
   Confirmation ID: 3265-70-ZKHIF-              (Redacted)        Schedule F        Ltd.
              345335621                                             (below)



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:_______________________________                          Date: 7 June, 2024
Transferee/Transferee’s Agent


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                                      Identity of Transferor

Transferee has in its possession an Evidence of Transfer signed by the Transferor.

In order to protect the identity of the Transferor, Transferee has not disclosed the Transferor’s
name or address, and has not attached the signed Evidence of Transfer to this notice of Transfer
of Claim.

Upon written request, Transferee is prepared to provide a copy of the signed Evidence of
Transfer to the Bankruptcy Court, the Debtors, and appropriate professionals.




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Schedule F




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